                                      CASE 0:22-cr-00229-ECT-DJF Doc. 6 Filed 09/16/22 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )                  BEFORE: Tony N. Leung
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )     Case No:               22-cr-229 ECT/DJF
                                                            )     Date:                  September 16, 2022
Brendon Michael Daugherty,                                  )     Courthouse:            Minneapolis
                                                            )     Courtroom:             9W
                                         Defendant,         )     Time Commenced:        1:43 p.m.
                                                                  Time Concluded:        1:54 p.m.
                                                                  Time in Court:         11 minutes

APPEARANCES:
   Plaintiff: Kimberly Svendsen, Assistant U.S. Attorney
   Defendant: Robert Meyers, Assistant Federal Public Defender
                  X FPD         X To be appointed


   Date Charges Filed: 9/14/2022                           Offense: threatening to murder a united states official; interstate
                                                                                  transmission of a threat to injure the person of
                                                                                  another
   X Advised of Rights

on          X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is Tuesday, September 20, 2022 at 10:00 a.m. before U.S. Magistrate Judge David T. Schultz in
CR9E, Minneapolis for:
 X Detention hrg        X Arraignment hrg

X Government moves to unseal the case.                     X Granted


Additional Information:
X Oral Rule5(f) Brady notice read on the record.
                                                                                                       s/SAE
                                                                                                     Signature of Courtroom Deputy




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